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                        EXHIBIT B
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                    FTX Distributions – Executive Summary for the USAO
    1. Assuming that remission proceeds received from the USAO or other governmental
       authorities (“SDNY Remission Proceeds”) are made available to the Debtors on or prior
       to the effective date of the chapter 11 plan (earliest August 1, 2024), the Debtors
       propose to apply 100% of the SDNY Remission Proceeds to make distributions to
       FTX.com customers and Alameda lenders, who rank senior to shareholders under
       applicable chapter 11 priorities.

           a. 100% of the SDNY Remission Proceeds would be paid to FTX.com customers
              and Alameda lenders. No SDNY Remission Proceeds would be used to pay
              trade or other general unsecured creditors, administrative expenses or taxes.

           b. Amounts paid to Alameda lenders from SDNY Remission Proceeds would
              include BlockFi. The Debtors have a settlement with BlockFi that contemplates
              mutual support for the release of the HOOD stock proceeds to the Debtors for
              distribution pursuant to the plan, the payment of $275 million to BlockFi
              immediately upon plan effectiveness, and the payment of the remaining portion
              of BlockFi’s loan claim pro rata with claims by other Alameda lenders. 1

           c. If the USAO is not comfortable with 100% of the SDNY Remission Proceeds
              being applied to pay FTX.com customers and Alameda lenders, a portion of the
              SDNY Remission Proceeds could be set aside in a separate fund and used by
              the Debtors solely to pay shareholders. However, the Debtors prefer that all
              funds are paid in accordance with chapter 11 priorities (see point 5 below).

    2. After administrative expenses and any provision for priority or administrative taxes, the
       Debtors will apply all other property of their estates to pay allowed non-governmental
       creditor claims until all non-governmental creditors receive petition time value (“Petition
       Time Value”) plus interest to the date of distribution at a rate to be determined (the
       “Consensus Rate”). The Consensus Rate will not be less than the Federal Judgment
       Rate (approx. 5.5%) nor more than the pre-judgment interest rate in Delaware at the
       petition time (9.0%).

           a. With respect to Petition Time Value, customers will continue to benefit from the
              intercompany priority over other creditors set forth in the current plan. Once
              Petition Time Value is paid in full to customers and all non-governmental
              creditors, customers and non-governmental creditors will be paid interest at the
              Consensus Rate on a pari passu basis.

    3. After all non-governmental creditors receive Petition Time Value and interest at the
       Consensus Rate, the Debtors will apply remaining distributable value to pay
       governmental creditors as follows: 2


1
       The BlockFi settlement remains subject to Bankruptcy Court approval, and a hearing on the
       settlement is expected for mid-March.
2
       Waterfall issues are under discussion with IRS and CFTC, but not agreed.




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       a. up to 25% (but not more than 25%) of remaining distributable value shall be
          available to pay allowed claims for U.S. Federal income taxes not previously paid
          (“U.S. Tax Claims”);

       b. all remaining distributable value not used to pay U.S. Tax Claims shall be used to
          pay allowed claims by the CFTC and other consenting governmental authorities
          (“Governmental Claims”), with payment of Governmental Claims to be made
          solely by deposit to a segregated fund maintained by the Debtors (the “Civil
          Remission Fund”).

4. The Debtors will apply 100% of the proceeds in the Civil Remission Fund to make
   payments on “Supplemental Appreciation Claims”. These Supplemental Appreciation
   Claims will include only claims held by FTX.com customers, FTX.US customers and
   Alameda lenders who have a contractual right to receive digital assets that have
   appreciated in value from the petition time to a measurement date immediately prior to
   the approval of the Chapter 11 Disclosure Statement by the Bankruptcy Court. The
   amount of each eligible creditor’s Supplemental Appreciation Claim will equal the USD
   equivalent of such appreciation, and the USD amount shall not change once fixed at the
   time of approval of the Disclosure Statement (i.e., no investor shall be entitled to make a
   claim for appreciation in value subsequent to approval of the Disclosure Statement). All
   Supplemental Appreciation Claims shall be in USD and fungible.

5. The total amount of Governmental Claims is expected to be $3-5 billion, subject to
   negotiation with the applicable authorities. The total amount of U.S. Tax Claims is
   uncertain. Once all Governmental Claims and U.S. Tax Claims are paid in full, the
   Debtors will apply the remaining proceeds in their estates to make distributions to
   shareholder constituencies in accordance with chapter 11 priorities.




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